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State Farm Fire and Casualty Company




July 30, 2021
                                                                   State Farm Insurance Companies
DARRELL GREEN                                                      Fire Claims
C/O FRANK SHAW LAW FIRM                                            PO BOX 106169
ATTN: BLAKE HARTHCOCK                                              Atlanta, GA 30348-6169
133 E JEFFERSON ST                                                 Fax 844 236 3646
KOSCIUSKO, MS 39090-3735




RE: Claim Number:                      24-G700-9D2
    Policy Number:                     99-BF-U351-2
    Location of
    Insured Property:                  7160 Old Wilson Rd, West, MS 39192-8120
    Type of Policy:                    FP-8105 Farm/Ranch Policy
    Date of Loss:                      February 17, 2021

Dear Blake Harthcock:

Thank you for speaking with me on July 29, 2021, when we discussed the damage to your
above-referenced client’s property.

Based upon the facts of loss of this claim, and the policy language, the Additional Coverage of
collapse of a scheduled farm building or structure only applies when the covered property is
insured for Accidental Direct Physical Loss.

Please refer to the following policy provisions from your Farm/Ranch Policy Form FP-8105
which reads, in part, as follows:

          SECTION I - COVERAGES D, E, F

          COVERAGE F - FARM BUILDINGS AND STRUCTURES

          This coverage applies when a description and coverage limit are shown on the
          Coverage F - Farm Buildings and Structures Schedule in the Declarations. We
          cover structures, farm dwellings, and farm buildings including attached
          permanent fixtures and sheds (except silos), on the insured location.

          ADDITIONAL COVERAGES - COVERAGES D, E, F

          The following Additional Coverages are subject to all the terms, provisions,
          exclusions and conditions of this policy.



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          16.   Collapse. We insure for accidental direct physical loss to covered
                property involving the sudden, entire collapse of a building or any
                part of a building only when the covered property is insured for
                Accidental Direct Physical Loss (A.D.P.L.) as shown on the
                schedule in the Declarations.

                Collapse means actually fallen down or fallen into pieces. It does
                not include settling, cracking, shrinking, bulging, expansion,
                sagging or bowing.

                The collapse must be directly and immediately caused only by one
                or more of the following:

                a.     perils described in SECTION I - LOSSES INSURED -
                       COVERAGES D, E, F - SPECIFIED PERILS. These perils
                       apply to covered building and personal property for loss
                       insured by this Additional Coverage;

                b.     hidden decay of a supporting or weight-bearing structural
                       member of the building;

                c.     hidden insect or vermin damage to a structural member of
                       the building;

                d.     weight of contents, equipment, animals or people;

                e.     weight of ice, snow, sleet or rain which collects on a roof;
                       or

                f.     use of defective material or methods in the construction
                       (includes remodeling or renovation) of the building, if the
                       collapse occurs during the course of construction of the
                       building.

                Loss to an awning, fence, patio, pavement, swimming pool,
                underground pipe, flue, drain, cesspool, septic tank, foundation,
                retaining wall, bulkhead, pier, wharf or dock is not included under
                items b., c., d., e. and f. unless the loss is the direct and
                immediate cause of the collapse of the building.

                This coverage does not increase the limit applying to the damaged
                property.

     SECTION I - LOSSES NOT INSURED - COVERAGES D, E, F
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               1.     We do not insure for any loss to the property described in
                      Coverages D, E, or F which consists of, or is directly and
                      immediately caused by, one or more of the perils listed in items a.
                      through u. below, regardless of whether the loss occurs suddenly
                      or gradually, involves isolated or widespread damage, arises from
                      natural or external forces, or occurs as a result of any combination
                      of these:

                      a.      collapse, except as specifically provided in SECTION I -
                              ADDITIONAL COVERAGES - COVERAGES D, E, F,
                              Collapse, and SECTION I - LOSSES INSURED -
                              COVERAGES D, E, F - SPECIFIED PERILS;

As the pole barn scheduled at line 006 on Mr. Green’s policy is not insured for Accidental Direct
Physical Loss as shown on the schedule in the Declarations, but only for Specified Perils, there
is no coverage for the collapse of that building.

This denial involves the coverages of this policy only. If you have any additional information you
would like us to consider, please forward it to us immediately.

This Company does not intend, by this letter, to waive any policy defenses in addition to those
stated above, and reserves its right to assert such additional policy defenses at any time.

If you have any additional information regarding your claim which has not been previously
considered, or if you desire any additional explanation regarding this matter, please contact me
at (844) 458-4300 Ext. 9726572998.

Sincerely,



Christopher Kownack
State Farm ECR – Renfroe
Phone: (844) 458-4300 Extension 9726572998
Fax: (844) 236-3646
statefarmfireclaims@statefarm.com
State Farm Fire and Casualty Company
